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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
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 9   Sharyn A. Medeiros,                              No. CV-14-01129-PHX-JZB
10                       Plaintiff,                   ORDER
11   v.
12   Wells Fargo & Company Long Term
     Disability Plan, et al.,
13
                         Defendants.
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16           The Court having reviewed the parties’ Stipulation of Dismissal with Prejudice
17   (Doc. 48), and good cause appearing,
18           IT IS ORDERED that the Stipulation of Dismissal with Prejudice (Doc. 48) is
19   granted.
20           IT IS FURTHER ORDERED that this matter is dismissed with prejudice. Each
21   party will bear its own attorneys’ fees and costs.
22           Dated this 18th day of June, 2015.
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25                                                        Honorable John Z. Boyle
                                                          United States Magistrate Judge
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